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                             Exhibit
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   front page      Cross-border headlines             text


   【TRO 23-cv-21753】1057 stores sued! Another
   case involving trademarks and 40 copyrighted
   images filed by individual painters represented
   by Sriplaw
            For the network            focus on                                                                                    693
                                                                                                                    2023-07-04 03:21
            We specialize in providing intellectual property assistance, litigation disputes, platform
            appeal disputes and rights protection for Chinese cross-border sellers, as well as all…




             This morning, Xiaowei received an email from a seller in the backend.
      The case number involved was 23-cv-21753. After checking, it turned out
      t h a t St a r l a M i c h e l l e , a p e r s o n a l p a i n t e r r e p r e s e n t e d b y S r i p l a w i n 2 0 2 2 ,
      once again initiated trademark and copyright protection! As many as
      1,057 stores were sued! Below are the details of the case.




                                                               01Case Details
                                                                             Link+2024 Brand
                                                                             Ark Overseas…
       P l a i n t i f f b r a n d : Starla Michelle work                              Book an
                                                                              2024-
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       P l a i n t i f f : St a r l a M i c h e l l e , L LC                  10-20
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       Case Number : 23-cv-21753
       Ty p e o f p r o s e c u t i o n : Tr a d e m a r k , C o p y r i g hSeeking
                                                                             t      growth
       P l a i n t i f f ’s L a w F i r m : S r i p l a w L a w              overseas, how to…

       Prosecution date: 2023/5/10                                                     Book an
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       Brand official website:                                                         Now


https://www.amz123.com/t/KBJS1Fxr                                                                                                        1/13
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       https://starlamichelle.com/




                                                   02Brand Introduction

        Starla Halfmann is a professional Austin artist and Texas native. She received her
   Bachelor of Arts in Design Communications from Texas Tech University. For her, her art
   career began after she quit her desk job of 8 years, which, like the character in the movie
   Office Space , was not what she was interested in, so she decided to follow her heart.




                                     (Image source: https://starlamichelle.com/ cited date: July 4, 2023)




        Starla Halfmann is a Christian artist who hopes to always maintain curiosity in her
   creations. She once lived on a remote farm, and the only thing she had access to was an
   encyclopedia. She has loved painting since she was a child, and she also loves many
   elements of nature. Everyone unanimously believes that she will become a veterinarian. This
   is also one of the reasons why she paints animals the most after becoming an artist. At
                                                                                Link+2024 Brand
   present, these works of hers have received a lot of praise and have been exhibited in many
                                                        Ark Overseas…
   exhibitions such as the Starla Michelle Art Exhibition, the People's
                                                                Book an Gallery, and the 5th
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        The plaintiff's registered word mark STARLA MICHELLE is in 16 categories.
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                                               04Copyright Information

        There are 40 copyrighted paintings of the plaintiff involved in this case . Sellers are
   requested to check carefully to avoid infringement.




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                                                   05Product Examples




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                                      (Image source: https://starlamichelle.com/ cited date: July 4, 2023)




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                         Powerful overseas warehouse
                         Focus on medium and large items, specialize in one-stop shipping and first-leg oce…



                         Expert shooting｜External model video shooting
                         We provide high-definition original videos, video post-optimization and editing, an…



                         Zhiyun Network (Shenzhen) Technology Co., Ltd.
                         Create a cross-border logistics smart fulfillment platform for small and medium-siz…



                         Tianyi Huitong International Logistics
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                            The Hate Stains that beats all…
                            『TikTok latest market data』When TikTok
                            launched TikTok Shop (around September…




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